         Case 1:17-cv-08223-PKC Document 217 Filed 12/07/20 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SECURITIES AND EXCHANGE
COMMISSION,
                                            Case No. 17-CIV-8223 (PKC)
                     Plaintiff,
                                            NOTICE OF APPEAL
              v.

MOHAMMED ALI RASHID,

                     Defendant.


        Notice is hereby given that Defendant Mohammed Ali Rashid, by and through

his undersigned counsel, hereby appeals to the United States Court of Appeals for

the Second Circuit from the final judgment entered on October 14, 2020 (the “October

14 Judgment”). This appeal is taken from each and every part of the October 14 Judg-

ment.


Dated: December 7, 2020                 Respectfully submitted,
       New York, NY
                                        SELENDY & GAY PLLC


                                  By:     /s/ Caitlin J. Halligan
                                        Caitlin J. Halligan
                                        Faith Gay
                                        Shomik Ghosh
                                        SELENDY & GAY, PLLC
                                        1290 Avenue of the Americas
                                        New York, NY 10104
                                        Tel: 212-390-9000
                                        challigan@selendygay.com
Case 1:17-cv-08223-PKC Document 217 Filed 12/07/20 Page 2 of 2




                            Theresa M. B. Van Vliet, Esq.
                            Genovese, Joblove & Battista, P.A.
                            200 East Broward Blvd.
                            Suite 1110
                            Fort Lauderdale, FL 33301
                            tvanvliet@gjb-law.com
                            Tel: 954-253-3150
                            Florida Bar No. 374040

                            Attorneys for Respondent Mohammed Ali
                            Rashid




                              2
